Case 1:18-cv-06493-WFK-CLP Document 29 Filed 12/11/20 Page 1 of 2 PageID #: 212




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- X
 IVAN GINDEA,

                                   Plaintiff,

                       -against-
                                                                             ORDER
                                                                      18 CV 6493 (WFK) (CLP)
  MAIDENBERG STEEL CORP.,
  LONGHORN CORP., MOSHE
  MAIDENBERG and MATAN
  MAIDENBERG,

                                    Defendants.
 ---------------------------------------------------------- X

 POLLAK, Chief United States Magistrate Judge:

          On October 15, 2020, the Court scheduled a status conference in this case. Brett Schatz,

 Esq., former counsel for plaintiff Ivan Gindea, was Ordered to demonstrate proof of service of

 the Order upon his former client by October 19, 2020. To date, no such proof has been entered.

 Counsel is directed to notify the Court as to whether Mr. Gindea has been served with the Order.

          The status conference previously scheduled for December 17, 2020, is adjourned. The

 Court will hold a status conference on February 9, 2021, via AT&T Conference call. To join the

 conference, please dial the phone number below, and enter the security code and access code

 when prompted.




                        DATE:                          February 9, 2021
                        TIME:                          10:15 a.m.
                        PHONE NUMBER:                  877-336-1839
                        ACCESS CODE:                   380-1746
                        SECURITY CODE:                 18-6493


                                                          1
Case 1:18-cv-06493-WFK-CLP Document 29 Filed 12/11/20 Page 2 of 2 PageID #: 213




        Again, please dial 877-336-1839 on February 9, 2021 at 10:15 a.m. to join the

 conference.

        The Court directs Mr. Schatz to demonstrate proof of service of this Order upon his

 former client by December 18, 2020.


        SO ORDERED.

 Dated: Brooklyn, New York
        December 10, 2020


                                                /s/ Cheryl L. Pollak
                                                Cheryl L. Pollak
                                                Chief United States Magistrate Judge
                                                Eastern District of New York




                                                2
